Case: 1:21-cv-05997 Document #: 1 Filed: 11/08/21 Page 1 of 13 PagelD #:1 Oe

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United State§ District Court F LL E

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The State Commission LLP ) CLERK NNO HT,
Yehin Kim ——_—

 

OMAS G. BRUTON
Case no: CLERK. U.S. DISTRICT COURT

1:21-cv-05997

Judge Charles R. Norgle, Sr
Magistrate Judge Jeffrey Cole
RANDOM

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EWE WEY United States Postal Service (USPS)
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"RAY A. Burr *(oiuiaa p. Complaint - RICO Case

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On 08/12/2021, the Plaintiff Yehin Kim placed an order totaling $20,800,344.03 from

Made in USA, a business affiliate of the U.S. Bureau of Engraving and Printing, for a real cash
currency in $100 USD bills of $21,050,000 (see blurred page containing contents of package).
The package of $21,050,000 of $100 USD legally tendered assets got stolen and redirected via
racketeering by defendant USPS to two different, intentionally hidden locations to defraud the
original recipient of the package and the cash currency. The defendant, USPS board of
governors, and effectively “USPS” violated 18 U.S.C. §§ 1961-1968 RICO, Racketeer
Influenced and Corrupt Organizations Act, through racketeering activities of internal mail fraud,
wire fraud, grand larceny/theft, and obscene deceptive practice to scheme or defraud. Based on
the materials of facts and evidence (see attached affidavits) - and all efforts placed by plaintiff
and others to seek its relevant answers, the United States Postal Service (USPS), having
revenue gains of $77 billion dollars annually, is responsible for $21,050,000 of USD bills per
order/currency value (see pages 3 - 4), RICO statute punitive damages and full restitutions
worth $25,000,000, and consequential treble damages totaling $96,050,000 to the Plaintiff
within 30 days of receipt of this served complaint. Further penalties may be administered by
the appointed Judge or Jury based on previous RICO case rulings and other related Federal
laws if lawful restitution is not met. The enterprise relation bears USPS and a Salem
Church/Residential Complex, a money laundering front in which the package got
redirected and sent to for extreme financial gains, and the victim or plaintiff of the
complaint. A delay of payment of exact restitution and fines or by ignoring the civil
complaint by defendants will be followed up under a criminal complaint on RICO issued
against USPS board of governors based on RICO’s Respondeat Superior, the legal
doctrine that entities are responsible for their employee’s conducts. Plaintiff gained
mental anguish as a result of defendant’s efforts to defraud and scheme, destroying
business relations and established trade agreements.

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Federal Truth Disclosure Bill - A Pre Complaint Form

The defendant USPS board of governors, who enforce and lead USPS are ultimately
responsible for intentional and willful racketeering efforts of internal mail fraud, wire fraud, grand
theft, and obscene deceptive practices upon Respondeat Superior, the legal doctrine that holds
that entities are responsible for their employee’s conducts. The defendants are to pay
restitution, penalties, restorations, and fines of treble damages of $96,050,000 according to
careful calculations done by underwriters to the plaintiff. $9,605,000 or 10% of the restitution or
10% of its settlement amount will be awarded and relieved to the Court’s Judge and/or jury
members who have drawn sharp and critical, yet peaceful legislative efforts to resolve this
simple White Collar Crime/RICO case.

The USPS Board of governors will most likely blame the nature of this complaint, in
refusal to acknowledge USPS’ systematic efforts of racketeering to defraud and scheme, on a
loss of its package pointing out that many packages get lost on a yearly if not daily basis,
consequently fooling an honest judge or jury. Do not fall for it since evidence and witnesses
have already provided that contradicts any defense or a defense claim of a “loss of” or “external
theft” accusation-based claim of the package. Draw to page 7 USPS own informed delivery
page reflecting package “dropped in/at a mailbox in Chicago IL." With intent to defraud package
contents, there was no other information intentionally provided other than “at a mailbox.” The
truth is that the package containing $21,050,000 that was supposed to arrive at plaintiff's
address, did not even arrive in a mailbox but at a hidden location per USPS intranet portal (see
page 8, a Classified file) at another residential complex 2825 W Mclean Ave Apt 253 Chicago, IL
60647. Respondeat Superior.

A USPS employee knew the package got intentionally redirected at the fault of USPS
and its board of governors, and initially refused to provide affidavit page 8, and ultimately cut out
the top and bottom portions of the page (see page 9 for clarity; a full photo of the form with the
USPS employee taken) If USPS’ racketeering efforts to defraud had been unintentional from a
“loss or misleading of the package”, the USPS informed delivery per system notice would have
systematically reflected the actual destination address of where the package got sent to (2825
W Mclean Ave Apt 253 Chicago, IL 60647). However, this “classified” information was supposed
to be made unknown with intent to defraud and scheme the grieved recipient. In any cause of
defense, since USPS handled the package contents, they are responsible for at least
$20,800,344.03 (see invoice page 3-4), and no other merchants and banks are responsible.
FDIC only insures up to $250,000.

In conclusion, the USPS board of governors are charged with RICO where USPS have
to pay restitution, penalties, and relief of aggregated amount $96,050,000; and 10% of it or its
settlement amount to the Judge handling this case for investigative efforts met with
professionalism by resolving it mutually upon hearing from both sides, and passing down
appropriate legislative decisions by weighing on the evidence and facts disclosed. This pre
complaint form has been passed down to the defendants based on the Federal Truth Disclosure
Act. Please review the attached complaint and affidavits.
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Pages 3-4 affidavits show order summary and USPS Shipping information: USPS Priority Mail
(2 to 3 business days)

Shipping Summary:

Shipping from: Cinema Props LLC/Made in USA Shipping to: Yehin Kim

Palisades Park, New Jersey US 71 Legacy Lane
Wheeling, IL 60090

&

Order Summary:

$50,000 Cash in $100 bills bought for $49,500

$100K x 21 ($2.1 million Real Cash 100 dollar bills) bought for $20,750,500

USPS Tracking #: 9400109205568751935061 (the Honorable Judge or Jury may place
focus on the tracking information via USPS informed delivery and compare them to
affidavits 8-10 to witness the defendant’s racketeering efforts to scheme, defraud, and
steal)

Pages 5-7 shows USPS Tracking History of the Tracking number and its related shipping
Information from August 13th - August 17th:

Aug 13 to 14: USPS Shipping label and accepted at USPS Origin Facility (USPS held
responsible starting from its handling and acceptance at a USPS facility to fulfill package
delivery)

Page 7 shows: Aug 17; USPS Delivered In/At Mailbox in Chicago, IL (Warning: This
is important, the package and currency assets should have gone to 71 legacy lane,
Wheeling IL 60090 reflected in page 3 affidavit bottom section. Defendant USPS, under
leadership USPS Postmaster Louis Dejoy and its board of governors, intentionally hid
the actual destination address having gone to a residential complex/Salem Church used
to scheme and defraud per page 9 affidavit; witnessed from a publicly inaccessible file
(USPS Tracking Intranet Portal) displaying package/millions of USD currency redirected
to a private destination address: 2825 W Mclean Ave Apt 253 Chicago, IL 60647 (see page
8; USPS caught for internal mail and wire fraud).

Briefing

The United States Postal Service (USPS) is an independent agency of the federal
government in such that the Selective Service System (SSS) is also an independent agency of
the federal government - both entities cannot legally identify themselves as the government or a
government agency/entity. They are both independent groups to the government but have a
relation. The defendant USPS upon illegal inspection of the package saw the value of the
property and committed systematic mail fraud, wire fraud, and theft by redirecting the package
twice towards intentionally unspecified destinations, significantly depriving the victim or original
recipient of the package containing $21,050,000. The USPS informed notice of delivery of
the tracking number #9400109295568751935061 “delivered in/at a mailbox in Chicago, IL
60647” (see page 7) speaks for itself.
 

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Nomen Men Home Beauty Collectibles Handbags Jewelry Coupons More v Shop By ~

Account Dashboard Offe rs: Pu rchased

| purchases Sort & filter offers >

Purchased Issue with your order? If you've contacted the seller and can’t work out a resolution, please use the "Report a
problem’ link at the bottom of the Order Summary. If you paid with PayPal and are based in the US, this will enable
you to open a dispute with PayPal.

 

GX) Open Offers

Your order for MADE_IN_USA

Ry i All Other Order Number: 8490539. ° wurrent status: Payment Complete Permanently hide this transaction
Items Purchased Qty. Your Price
Oo 50,000$ : 1 $49,500
REAL CASH
Bos
FULL 21 $20,750,500

CASH 100K

 

 

 

wee Sold by: Subtotal $20,800,250

MADE_IN_USA Shipping FREE

Rewards Tax $94.03
Order amount

Re-order items

See feedback (84) $20,800,344.03

Member since 12/06/17
vo, Send them a message

 

Order Summary

Buyer's phone number: Not provided

Payment type: Stripe

You left negative feedback on 09/26/21

Shipping speed: ISPS Priority Mail (2 to 3 business days)
Shipped «

Tracking: 9400109205568751935061 View tracking information

Contact seller Report a problem
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Your order from CINEMA PROPS LLC / MADE IN USA

 

50,000$ $49 , 500
TX.
SLL $20,750,500
100 Dollar Bills REAL CASH 100K
21 X
Subtotal
Shipping (USPS Priority Mail (2 to 3 business FREE
days))
Tax $94.92
Payment type
Total $20,8U0,344.03
Shipping from: Shipping to:
CINEMA PROPS LLC / MADE Yehin Kim
IN USA 71 Legacy Lane
Palisades Park, New Jersey
US

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August 16, 2021, 1:53 am 4
Arrived at USPS Regional Facility
CHICAGO IL DISTRIBUTION CENTER

 

August 16, 2021, 12:49 am
Departed USPS Regional Facility
CHICAGO IL LOGISTICS CENTER

August 15, 2021, 10:10 pm
Arrived at USPS Regional Facility
CHICAGO IL LOGISTICS CENTER

August 15, 2021, 3:12 am
Departed USPS Regional Facility
KEARNY NJ DISTRIBUTION CENTER

August 14, 2021, 9:29 pm
Arrived at USPS Regional Origin Facility
KEARNY NJ DISTRIBUTION CENTER

August 14, 2021, 8:14 pm
Accepted at USPS Origin Facility
PALISADES PARK, NJ 07650

August 13, 2021, 12:39 am
Shipping Label Created, USPS Awaiting Item
PALISADES PARK, NJ 07650

 

USPS Tracking Plus™ NN
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@ Partnerships— FBI >  [B] USPS.com®-Signin x  §B} USPS.com®@ - USPS

O &o € @ tools.usps.com/go/TrackConfirmAction?qtc yy ¥

 

Y Delivered, In/At Mailbox *

August 17, 2021 at 1:59 pm
CHICAGO, IL 60647

Get Updates \v

 

Text & Email Updates Vv

 

Tracking History NN

August 17, 2021, 1:59 pm

Delivered, In/At Mailbox

CHICAGO, IL 60647

Your item was delivered in or at the mailbox at 1:59 pm on August 17, 2021 in CHICAGO, IL 60647.

August 17, 2021, 9:03 am
Out for Delivery
CHICAGO, IL 60647

August 17, 2021, 8:52 am
Arrived at Post Office
CHICAGO, IL 60647

August 17, 2021, 3:20 am
Departed USPS Regional Facility
CHICAGO IL DISTRIBUTION CENTER

 
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@® Partnerships—FBI > [§B USPS.com®@-Signin x [BH USPS.com®-USPS

(One ee @ tools.usps.com/go/TrackConfirmAction?qtc yy ¥

 

 

USPS Tracking’ FAQs >

Track Another Package +

: Remove X
Tracking Number:

9400109205568751935061

Your item was delivered in or at the mailbox at 1:59 pm on August 17, 2021 in CHICAGO, IL
60647.

USPS Tracking Plus™ Available \y
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(Y Delivered, In/At Mailbox

August 17, 2021 at 1:59 pm
CHICAGO, IL 60647

Get Updates \v

 

Text & Email Updates Vv
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On 11/02 a USPS worker/witness observed that the package got intentionally
redirected at the fault of USPS where the property got intentionally dropped off at
Destination address: 2825 W Mclean Ave APT 253 Chicago, IL 60647-9369 (see pages 8
and 9), misleading the supposed recipient of the package “delivered in/at Mailbox in Chicago, IL
on 8/27) The employee/witness of USPS, whose identity will not be disclosed unless the Courts
need to issue a subpoena to any USPS employees, had to immediately cut out portions of
the USPS Intranet Tracking Form after quickly realizing USPS was responsible for the
intentional redirection of the package containing $21,050,000 USD dollars. The United
States Postal Service (USPS) then shipped it to another unidentified location in an unspecified
area in Logan Square from 10/29 to present (see page 10).

The defendant USPS under the direction and financially responsible actors and board of
governors, can play a futile defense to blame one of their employees for the systematic act of
racketeering, intentional misdirections of the package and value of currency, its theft, and wire
fraud of the property. However, facts and evidence bears that USPS, having committed
systematic and separate acts of racketeering by resending the destination of package to
Logan Square after 2 months of delivery status in mailbox Chicago IL” or rather at the
Residential Complex in Chicago, IL) using their own internal Postal Service System
indicates no merchants or financial institutions can be blamed. Rested on RICO statutes
and Federal law, the USPS board of governors bears full responsibility. Its responsibility
under civil law remains to be restitution, fines, penalties, and other injunctions of treble
damages totaling $96,050,000 to the plaintiff and parties of concern.

Out of transparency and not to harm or share an intent to harm, If the USPS board of
governors or effectively “USPS” delays payment of full restitution and penalties to the plaintiff,
then consequently based on the matters of evidence and other witnesses, the plaintiff will have
to file racketeering and/or other related charges under criminal complaints where penalties
include countless years in federal prison along with restitution.

Plaintiff's Bank Account Information below for $96,050,000 to be made immediately and within
30 days of receipt of the served complaint:

Routing #: 071921891
Account #: 4696418162

Checks, money orders, or property/lands can also be issued and delivered to Plaintiff Yehin Kim
at 71 Legacy Lane, Wheeling IL 60090 upon ruling in favor by the Judge or under Jury Trial.
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Result for Domestic Tracking Number 9400 1092 0556 8751 9350 61

Destination and Origin
Destination

606479369 CHICAGO IL
Origin

07650 PALISADES PARK NJ

Tracking Number Classification ——__

Class/Service

Class/Service:
Class of Mail Code/Description:

First-Class Package Service
FC / First Class

Destination Address Information

Address:

City:

State:

5-Digit ZIP Code:

4-Digit ZIP Code add on:
Delivery Point Code:
Record Type Code:
Delivery Type:

2825 W MCLEAN AVE APT 253
CHICAGO

iL

60647

9369

§3

Building/Apartment

Residential, Central

Origin / Return / Pickup Address Information

Address:

City:

State:

5-Digit ZIP Code:

4-Digit ZIP Code add on:

201 12TH ST APT 25
PALISADES PARK
NJ

07650

2064
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Product Tracking & Reporting

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Chicago

 

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C) DELIVERED IN/AT MAILBOX
